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Dated: March 21, 2022
The following is SO ORDERED:


                                                    ________________________________________
                                                                  Jimmy L. Croom
                                                       UNITED STATES BANKRUPTCY JUDGE


____________________________________________________________




                             UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF TENNESSEE
                                     EASTERN DIVISION

IN RE:                                                        CHAPTER 13 CASE NO. 19-11943
Demetris R. Bailey
Cindy E. Bailey
DEBTOR(S)

                        ORDER ON MOTION TO SELL VEHICLE,
                 APPROVE RELEASE OF TITLE AND CEASE DISBURSEMENT

       This matter came for consideration on the Court docket the 17th day of March, 2022, on the

Debtors’ Motion to Sell Vehicle, Approve Release of Title and Cease Disbursement. Being no

objection, the motion was granted.

       It is therefore ordered:

       1. The Debtors are hereby authorized to sell the 2003 Dodge Ram for the amount of

$1,200.00.

       2. The Debtors shall pay the lien holder, Carroll Bank & Trust (ref. claim 27), its claim

balance of $822.65, to satisfy the loan. Upon receipt of payment, the lien holder shall release the title.

       3. The excess proceeds of $377.35 shall be paid to Chapter 13 Trustee. The funds are to be

applied to the Debtors’ case to bring the plan payments current, with any remainder to be used to
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benefit the unsecured creditors.

       4. The Debtors shall provide the Chapter 13 Trustee a copy of the Bill of Sale and proof of

payment to Carroll Bank & Trust. Upon receipt of same, the Trustee shall cease disbursements to

Carroll Bank & Trust (claim 27) and adjust the plan payment as necessary.



APPROVED BY:

/s/ C. Jerome Teel, Jr.
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/s/ Timothy H. Ivy
/s/_____________________________
Chapter 13 Trustee
250 N. Parkway, Ste 1
Jackson, TN 38305
(731) 664-1313



MAILING INFORMATION:                March 15, 2022 (bbk)
Debtors,
Debtors attorney,
Chapter 13 Trustee,
Carroll Bank & Trust, P.O. Box 889, Huntingdon, TN 38344
